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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                        Chapter 7
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                               Case No. 23-90147 (DRJ)

                                      Debtors. 1                        (Jointly Administered)

                COVER SHEET TO FIRST AND FINAL APPLICATION
             OF AKERMAN LLP FOR ALLOWANCE OF COMPENSATION
          FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
            INCURRED AS SPECIAL ENVIRONMENTAL COUNSEL TO THE
        DEBTORS FOR THE PERIOD FROM JUNE 9, 2023 THROUGH JULY 31, 2023

                          Complex Case Fee Application Coversheet (Hourly)

    Name of Applicant:                                             Akerman LLP
    Applicant’s Role in Case:                                      Special Environmental Counsel to the
                                                                   Debtors
    Docket No. of Employment Order(s):                             Pending2
    Interim Application ( )                                        This is the Final Fee Application.
    Final Application ( X )

                                                                     Beginning Date                  End Date
    Time period covered by this Application for                         06/09/23                     07/31/23
    which interim compensation has not previously
    been awarded:
    Were the services provided necessary to the administration of or beneficial at the time
    rendered toward the completion of the case? ( Y ) Y/N
    Were the services performed in a reasonable amount of time commensurate with the
    complexity, importance and nature of the issues addressed? ( Y ) Y/N


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained for a fee at the Court’s website
      at http://ecf.txsb.uscourts.gov. A login identification and password to the Court’s Public Access to Court
      Electronic Records (“PACER”) are required to access this information and can be obtained through the PACER
      Service Center at http://www.pacer.psc.uscourts.gov. The location of Debtor Mountain Express Oil Company’s
      principal place of business and the Debtors’ service address in these Chapter 11 Cases (the “Cases”) is 3650
      Mansell Road, Suite 250, Alpharetta, GA 30022.
2
      On July 6, 2023, the Debtors filed Debtors' Application For Entry Of An Order Authorizing The Retention And
      Employment Of Akerman LLP As Special Environmental Counsel For The Debtors, Effective As Of June 9,
      2023 (Doc 752) (the "Application"). The order granting the Application is currently pending. See Docket No.
      1118.


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 Name of Applicant:                                   Akerman LLP
 Is the requested compensation reasonable based on the customary compensation charged
 by comparably skilled practitioners in other non-bankruptcy cases? ( Y ) Y/N
 Do expense reimbursements represent actual and necessary expenses incurred? ( Y ) Y/N

             Compensation Breakdown for Time Period Covered by this Application
    Total professional fees requested in this Application:                    $100,755.50
    Total professional hours covered by this Application:                          103.30
    Average hourly rate for professionals:                                        $816.43
    Total paraprofessional fees requested in this Application:                     N/A
    Total paraprofessional hours covered by this Application:                      N/A
    Average hourly rate for paraprofessionals:                                     N/A
 Total fees requested in this Application:                                    $100,755.50
 Total expense reimbursements requested in this Application:                        $0.00
 Total fees and expenses requested in this Application:                       $100,755.50
 Total fees and expenses awarded in all prior Applications:                         $0.00
 Plan Status: N/A

 Primary Benefits: To provide environmental legal guidance and expertise to assist Debtor and
 its environmental consultants and professional in responding to alleged environmental violations,
 registration requirements and other related environmental compliance matters associated with
 Debtor's owned, leased and/or operator petroleum storage tank locations. All work completed by
 Akerman's professionals was performed under emergency situations including responding to
 counsel for the environmental regulatory agency to avoid, if possible, shut down of operations at
 various Debtors' locations.


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 Dated: October 9, 2023                  AKERMAN LLP

                                         /s/ Laura M. Taveras
                                         Laura M. Taveras
                                         SBN: 24127243
                                         2001 Ross Avenue, Suite 3600
                                         Dallas, TX 75201
                                         Telephone: (214) 720-4300
                                         Facsimile: (214) 981-9339
                                         laura.taveras@akerman.com

                                         Special Environmental Counsel to the Debtors and
                                         Debtors in Possession




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                        Chapter 7
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                               Case No. 23-90147 (DRJ)

                                      Debtors. 1                        (Jointly Administered)

      FIRST AND FINAL APPLICATION OF AKERMAN LLP FOR ALLOWANCE OF
       COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
       EXPENSES INCURRED AS SPECIAL ENVIRONMENTAL COUNSEL TO THE
       DEBTORS FOR THE PERIOD FROM JUNE 9, 2023 THROUGH JULY 31, 2023

IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN WRITING.
UNLESS OTHERWISE DIRECTED BY THE COURT, YOU MUST FILE YOUR
RESPONSE ELECTRONICALLY AT HTTPS://ECF.TXSB.USCOURTS.GOV/ WITHIN
TWENTY-ONE (21) DAYS FROM THE DATE THIS APPLICATION WAS FILED.
OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
GRANT THE RELIEF REQUESTED.

             Akerman LLP (“Akerman”), attorneys for the above-captioned debtors (the “Debtors”),

hereby files its first and final application (this “Application”) seeking allowance on a final basis

of compensation for services rendered and necessary expenses for the period from June 9, 2023,

through July 31, 2023 (the “Final Application Period”), pursuant to sections 330 and 331 of Title

11 of the United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2016-1 and 9013-1 of the Local

Bankruptcy Rules of the United States Bankruptcy Court for the Southern District of Texas (the

“Local Rules”), and the Order Establishing Procedures for Interim Compensation and



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained for a fee at the Court’s website
      at http://ecf.txsb.uscourts.gov. A login identification and password to the Court’s Public Access to Court
      Electronic Records (“PACER”) are required to access this information and can be obtained through the PACER
      Service Center at http://www.pacer.psc.uscourts.gov. The location of Debtor Mountain Express Oil Company’s
      principal place of business and the Debtors’ service address in these Chapter 11 Cases (the “Cases”) is 3650
      Mansell Road, Suite 250, Alpharetta, GA 30022.


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Reimbursement of Expenses for Professionals [Docket No. 408] (the “Compensation Order”). For

the Final Application Period, Akerman seeks final allowance of $100,755.50 as fees for services

rendered and $0.00 as reimbursement of expenses. In support of this Application, Akerman

submits the declaration of Robyn D. Neely attached hereto as Exhibit 1 and a proposed order

granting the Application attached hereto as Exhibit 2. In further support of this Application,

Akerman respectfully states as follows:

                                     JURISDICTION AND VENUE

         1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334 and

the Amended Standing Order of Reference from the United States District Court for the Southern

District of Texas, dated May 24, 2012.

         2.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2) and

Article III of the United States Constitution. Venue is proper pursuant to 28 U.S.C. §§ 1408 and

1409.

                                              BACKGROUND

         3.      On May 14, 2023 (the “Petition Date”), the Debtors each commenced with this

Court a voluntary case under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).

         4.      Akerman is authorized 2 to represent the Debtors in connection with counseling and

related legal advice to the Debtors in connection with certain environmental regulatory review and

environmental compliance matters related to (a) the Debtors’ owned real property, leased

locations, and underground storage tank systems, and (b) the Debtors’ sale and marketing process.




2
    On July 6, 2023, the Debtors filed Debtors' Application For Entry Of An Order Authorizing The Retention And
    Employment Of Akerman LLP As Special Environmental Counsel For The Debtors, Effective As Of June 9, 2023
    (Doc 752) (the “Application”). The order granting the Application (the “Retention Order”) is currently pending.
    See Docket No. 1118.

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           5.      The pending Retention Order authorizes the Debtors to compensate and reimburse

Akerman in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and

any Orders entered in these Chapter 11 Cases. The pending Retention Order also authorizes the

compensation of Akerman at its standard hourly rates and the reimbursement of Akerman’s actual

and necessary out-of-pocket expenses incurred, subject to application to this Court.

          SUMMARY OF INTERIM COMPENSATION AND REIMBURSEMENT OF
               EXPENSES REQUESTED DURING THE STUB PERIOD

           6.      Akerman seeks allowance of $100,755.50 in fees calculated at the hourly billing

rates of Akerman personnel who worked on these Chapter 11 Cases and $0.00 in expenses actually

and necessarily incurred by Akerman while providing services to the Debtors during the Final

Application Period.

           7.      Pursuant to the Compensation Order, during these Chapter 11 Cases, Akerman has

submitted two monthly fee statements (each a “Fee Statement”) for the calendar months of June

2023 [Docket No. 1361], and July 2023 [Docket No. 1362].

           8.      In accordance with the Compensation Order, Akerman submitted monthly fee

statements as set forth in the chart below. As of the date of this Application, Akerman has not

received any objections to any of its Fee Statements and the deadlines to object thereto have

passed. To date, Akerman has not received payment in accordance with the terms of the

Compensation Order.3 A summary of the paid amounts in the Final Application Period follows:




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    Payment could not be made until such time as Akerman’s pending Retention Order was entered.

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                             Fees                           Expenses        Expenses      Balance (Fees
          Period                            Fees Paid
                           Incurred                         Incurred          Paid        & Expenses)
6/7/23-6/30/23             $58,517.00             $0.00         $0.00          $0.00       $58,517.00
7/1/23-7/31/23             $42,238.50             $0.00         $0.00          $0.00       $42,238.50
Totals:                  $100,755.50          $0.00            $0.00          $0.00        $100,755.50

             9.    The fees charged by Akerman in these Chapter 11 Cases are billed in accordance

   with Akerman’s existing billing rates and procedures in effect during the Final Application Period.

   The rates Akerman charges for the services rendered by its professionals and paraprofessionals in

   these Chapter 11 Cases generally are the same rates Akerman charges for professional services

   rendered in comparable bankruptcy and non-bankruptcy related matters. Such fees are reasonable

   based on the customary compensation charged by comparably skilled practitioners in comparable

   bankruptcy and non-bankruptcy cases in a competitive national legal market.

             10.   Attached hereto as Exhibit 3 is a summary breakdown of hours and amounts billed

   by timekeeper during the Final Application Period. The summary sheet lists those Akerman

   professionals who have performed services for the Debtors during the Final Application Period,

   the capacities in which each individual is employed by Akerman, the department in which each

   individual practices, the hourly billing rate charged by Akerman for services performed by such

   individual, the year in which each attorney was first licensed to practice law, where applicable,

   and the aggregate number of hours expended in this matter and fees billed therefor.

             11.   Akerman maintains computerized records of the time spent by all Akerman

   attorneys in connection with these Chapter 11 Cases. Copies of the time records of Akerman’s

   attorneys for the period from June 9, 2023 through July 31, 2023 (i.e., the Final Application Period)

   are attached hereto as Exhibit 4.




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                        SUMMARY OF SERVICES RENDERED
                      DURING THE FINAL APPLICATION PERIOD

         12.   The following narrative provides a brief summary of the services rendered by

Akerman on behalf of the Debtors during the Final Application Period organized by project

category. The summary that follows is not intended to be a detailed description of the work

performed by Akerman during the Final Application Period, as those day-to-day services and the

time expended in performing such services are fully set forth in the contemporaneous time records

that are attached as Exhibit 4. Rather, the following summary attempts to highlight certain of

those areas in which services were rendered to the Debtors during the Final Application Period.

 A.      Asset Disposition

                             Fees: $100,755.50   Total Hours: 103.30

         13.   During the Final Application Period, Akerman assisted the Debtors in connection

with certain environmental regulatory review and environmental compliance matters.

         14.   This category includes time expended by Akerman’s professionals in connection

with the Debtors’ owned real property, leased locations, and underground storage tank systems,

and Debtors’ sale and marketing process. Additionally, the time expended included assistance with

responding to alleged environmental violations, registration requirements and other related

environmental compliance matters from state environmental regulatory agencies with jurisdictions

over Debtors’ owned real property, leased locations, and underground storage tank systems. All

work completed by Akerman's professionals was performed under emergency situation including

responding to counsel for the environmental regulatory agency to avoid, if possible, shut down of

operations at various Debtors' locations.




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                                FINAL APPLICATION PERIOD

         15.   The professional services performed by Akerman on behalf of the Debtors during

the Final Application Period required an aggregate expenditure of 103.30 hours by Akerman’s

professionals. Of the aggregate time expended in the Final Application Period, 84 recorded hours

were expended by partners of Akerman, and 19.3 recorded hours were expended by associates.

         16.   During the Final Application Period, Akerman billed the Debtors for time expended

by attorneys based on hourly rates ranging from $495.00 to $975.00 per hour for attorneys.

Allowance of compensation in the amount requested would result in a blended hourly billing rate

of approximately $816.43 (based on 103.30 recorded hours for professionals at Akerman’s agreed

billing rates in effect at the time of the performance of services).

         17.   Compensation for the foregoing services as requested is commensurate with the

complexity, importance, and nature of the problems, issues, and tasks involved. The professional

services were performed expediently and efficiently. Whenever possible, Akerman sought to

minimize the costs of its services to the Debtors by utilizing junior attorneys.

         18.   In sum, the services rendered by Akerman during the Final Application Period were

necessary and beneficial to the Debtors and their estates and were consistently performed in a

timely manner commensurate with the complexity, importance, and nature of the issues involved.

Accordingly, the final approval of the compensation for professional services and reimbursement

of the expenses sought herein is warranted.

                            BASIS FOR THE RELIEF REQUESTED

         19.   Section 331 of the Bankruptcy Code provides for interim compensation of

professionals not more than once every 120 days after the commencement of the cases (or more

often as the court may permit) and incorporates the substantive standards of section 330 to govern



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the Court’s award of such compensation. Section 330 provides that a Court may award a

professional employed under section 327 of the Bankruptcy Code “reasonable compensation for

actual, necessary services rendered [and] reimbursement for actual, necessary expenses.” 11

U.S.C. § 330(a)(1).

         20.   Section 330 also sets forth the criteria for the award of such compensation and

reimbursement:

               In determining the amount of reasonable compensation to be awarded to
               . . . [a] professional person, the court shall consider the nature, the extent,
               and the value of such services, taking into account all relevant factors,
               including –

                         A.    the time spent on such services;

                         B.    the rates charged for such services;

                         C.    whether the services were necessary to the administration of, or
                               beneficial at the time at which the service was rendered toward the
                               completion of, a case under this title;

                         D.    whether the services were performed within a reasonable amount of
                               time commensurate with the complexity, importance, and nature of
                               the problem, issue, or task addressed;

                         E.    with respect to a professional person, whether the person is board
                               certified or otherwise has demonstrated skill and experience in the
                               bankruptcy field; and

                         F.    whether the compensation is reasonable based on the customary
                               compensation charged by comparably skilled practitioners in cases
                               other than cases under this title.
11 U.S.C. § 330(a)(3).

         21.   In determining the reasonableness of fees, courts routinely employ the twelve

factors set forth by the Fifth Circuit in Johnson v. Ga. Highway Express, Inc., 488 F.2d 714, 717-

19 (5th Cir. 1974) which incorporates and expands upon the requirements of section 330 of the

Bankruptcy Code. These factors include: (1) the time and labor required; (2) the novelty and

difficulty of the questions; (3) the skill requisite to perform the legal service properly; (4) the

preclusion of employment by the attorney due to acceptance of the case; (5) the customary fee; (6)

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whether the fee is fixed or contingent; (7) time limitations imposed by client or the circumstances;

(8) the amount involved and the results obtained; (9) the experience, reputation and ability of the

attorneys; (10) the undesirability of the case; (11) the nature and length of the professional

relationship with the client; and (12) awards in similar cases. Id. at 123 n.8. In In re Fourth

Colonial Corp. of America, 544 F.2d 1291, 1298-99 (5th Cir. 1977), cert. denied, 431 U.S. 904

(1977), the Fifth Circuit applied the Johnson factors to the analysis of fee awards in bankruptcy

cases.

          22.   Under an analysis utilizing the Johnson factors and the standards customarily

applied to fee awards under sections 330 and 331 of the Bankruptcy Code, Akerman submits that

its request for compensation and reimbursement of expenses is reasonable and proper, and that

such request should be allowed in the requested amount. Akerman devoted a substantial amount

of time and effort addressing the environmental and regulatory issues involved in these Chapter

11 Cases, as summarized above and detailed in Exhibit 4 hereto.

          23.   Akerman respectfully submits that the services for which it seeks compensation in

this Application were, at the time rendered, believed to be necessary to represent the Debtors

effectively and efficiently.

          24.   Further, Akerman submits that consideration of the relevant Johnson factors

establishes that the compensation requested is reasonable in light of the nature, extent, and value

of such services to the Debtors:


          (a)   The Time and Labor Required. The professional services rendered by Akerman on
                behalf of the Debtors have required the expenditure of substantial time and effort,
                as well as a high degree of professional competence and expertise, in order to deal
                with the many issues encountered with skill and dispatch. Akerman respectfully
                represents that the services rendered by it were performed efficiently, effectively
                and economically.




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         (b)   The Novelty and Difficulty of Questions. These Chapter 11 Cases involved a
               significant number of novel or difficult issues in environmental and regulatory law
               in connection with the Debtors’ restructuring efforts.

         (c)   The Skill Required to Perform the Legal Services Properly. Akerman believes that
               its recognized expertise in the area of environmental regulation have contributed to
               the efficient and effective representation of the Debtors in these Chapter 11 Cases.

         (d)   The Preclusion of Other Employment by Applicant Due to Acceptance of the Case.
               Akerman’s representation of the Debtors has not precluded its acceptance of new
               clients. However, the issues that have arisen in these Chapter 11 Cases required
               attention on a continuing, and often times emergent, basis, requiring Akerman’s
               professionals to commit significant portions of their time to these Chapter 11 Cases.

         (e)   The Customary Fee. The fees sought herein are based upon Akerman’s normal
               hourly rates for services of this kind. Akerman respectfully submits that the hourly
               rates of its professionals are not unusual given the time expended in attending to
               the representation of the Debtors. Akerman’s hourly rates and the fees requested
               herein are commensurate with fees Akerman has been awarded in other cases, as
               well as with fees charged by other attorneys of comparable experience.

         (f)   Whether the Fee is Fixed or Contingent. The fees requested in this Application
               represent fees incurred based upon a fixed hourly rate basis, contingent upon the
               Court’s approval of this Application.

         (g)   Time Limitations Imposed by Client or other Circumstances. Akerman provided
               capable legal representation within the time limitations imposed under the unique
               circumstances of these Chapter 11 Cases. The issues that have arisen in these
               Chapter 11 Cases required attention on a continuing, and often times emergent,
               basis.

         (h)   The Amount Involved and Results Obtained. For the reasons described above,
               Akerman respectfully submits that the amount of fees for which compensation is
               sought is reasonable under the circumstances given the numerous matters that had
               to be addressed.

         (i)   The Experience, Reputation and Ability of the Attorneys. Akerman employs more
               than 700 lawyers and government affairs professionals through a network of 24
               offices, providing clients with access to professionals who specialize in real estate,
               environmental law, corporate affairs, and other pertinent matters and has used their
               expertise to advise the Debtors.

         (j)   The Undesirability of the Case. Not applicable.

         (k)   Nature and Length of Professional Relationship. Not applicable.

         (l)   Awards in Similar Cases. The fees sought herein are commensurate with fees
               Akerman has been awarded in other cases.

         25.   In sum, the services rendered by Akerman were necessary and beneficial to the

Debtors and were consistently performed in a timely manner commensurate with the complexity,


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importance, and nature of the issues involved. This Application requests final approval of the fees

and expenses incurred by Akerman during the Final Application Period in accordance with section

330 of the Bankruptcy Code. See 11 U.S.C. § 330.

         26.     No previous application for the relief sought herein has been made to this or any

other Court.

         WHEREFORE, Akerman respectfully requests that the Court: (a) approve final allowance

for the period from June 9, 2023 through and including July 31, 2023 2023, in the amount of

$100,755.50, consisting of fees for professional services rendered to the Debtors in the amount of

$100,755.50; and (b) grant such other or further relief as may be just and proper under the

circumstances.

 Dated: October 9, 2023                           AKERMAN LLP

                                                  /s/ Laura M. Taveras
                                                  Laura M. Taveras
                                                  SBN: 24127243
                                                  2001 Ross Avenue, Suite 3600
                                                  Dallas, TX 75201
                                                  Telephone: (214) 720-4300
                                                  Facsimile: (214) 981-9339
                                                  laura.taveras@akerman.com

                                                  Special Environmental Counsel to the Debtors and
                                                  Debtors in Possession




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                              EXHIBIT 1
               (Robyn D. Neely Declaration)




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                        Chapter 7
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                               Case No. 23-90147 (DRJ)

                                      Debtors. 1                        (Jointly Administered)

        DECLARATION OF ROBYN D. NEELY IN SUPPORT OF FIRST AND FINAL
       APPLICATION OF AKERMAN LLP FOR ALLOWANCE OF COMPENSATION
          FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
            INCURRED AS SPECIAL ENVIRONMENTAL COUNSEL TO THE
       DEBTORS FOR THE PERIOD FROM JUNE 9, 2023 THROUGH JULY 31, 2023

             I, Robyn D. Neely, declare under penalty of perjury:

                    1.      I am a partner with the law firm of Akerman LLP (“Akerman”), which

maintains offices at 420 South Orange Avenue, Suite 1200, Orlando, FL 32801, and elsewhere in

24 offices located through-out the United States. I am the chair of Akerman’s Environment and

Natural Resources Practice, and lead attorney from Akerman, which is currently serving as special

environmental and regulatory counsel for the above-captioned debtors and debtors in possession

(the “Debtors”).

             2.     I have read the First and Final Application of Akerman LLP for Allowance of

Compensation for Services Rendered and Reimbursement of Expenses Incurred as Special

Environmental Counsel to the Debtors for the Period From June 9, 2023 Through July 31, 2023,

(the “Application”), filed contemporaneously herewith.2 To the best of my knowledge,


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained for a fee at the Court’s website
      at http://ecf.txsb.uscourts.gov. A login identification and password to the Court’s Public Access to Court
      Electronic Records (“PACER”) are required to access this information and can be obtained through the PACER
      Service Center at http://www.pacer.psc.uscourts.gov. The location of Debtor Mountain Express Oil Company’s
      principal place of business and the Debtors’ service address in these Chapter 11 Cases (the “Cases”) is 3650
      Mansell Road, Suite 250, Alpharetta, GA 30022.
2
      Capitalized terms used but not defined herein shall have the meanings assigned to them in the Application.


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information, and belief, formed after reasonable inquiry, the statements contained in the

Application are true and correct. In addition, I believe that the Application is in conformity with

the applicable provisions of the Bankruptcy Code, Bankruptcy Rules, Local Rules, and this Court’s

orders.

          3.     In connection therewith, I hereby certify that:

                 a.      The fees and disbursements sought in the Application are billed at rates
                         customarily employed by Akerman and generally accepted by Akerman’s
                         clients. In addition, none of the professionals seeking compensation varied
                         their hourly rates based on the geographic location of the Debtors’ cases;

                 b.      In providing a reimbursable expense, Akerman does not make a profit on
                         that expense, whether the service is performed by Akerman in-house or
                         through a third party;

                 c.      In accordance with Bankruptcy Rule 2016(a) and Bankruptcy Code section
                         504, no agreement or understanding exists between Akerman and any other
                         person for the sharing of compensation to be received in connection with
                         these Cases except as authorized pursuant to the Bankruptcy Code,
                         Bankruptcy Rules and Local Rules; and

                 d.      All services for which compensation is sought were professional services
                         on behalf of the Debtors and not on behalf of any other person.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

          Executed on October 9, 2023 in Orlando, Florida.

                                                       /s/ Robyn D. Neely
                                                       Robyn D. Neely




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                              EXHIBIT 2
                         (Proposed Order)




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                        Chapter 7
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                               Case No. 23-90147 (DRJ)

                                      Debtors. 1                        (Jointly Administered)

             FINAL ORDER ALLOWING COMPENSATION AND REIMBURSEMENT
                           OF EXPENSES OF AKERMAN LLP
                                  (Docket No. ____)

             1.    The Court has considered the First and Final Application for Compensation and

Reimbursement of Expenses filed by Akerman LLP (the “Applicant”). The Court orders:

             2.    Applicant is allowed compensation and reimbursement of expenses in the amount

of $100,755.50 for the period set forth in the application.

             3.    The compensation and reimbursement of expenses allowed in this order and all

previous interim allowances of compensation and reimbursement of expenses are approved on a

final basis.

             4.    The Debtors are authorized to disburse any unpaid amounts allowed by paragraphs

1 or 2 of this Order.


Dated: _____________, 2023
                                                       DAVID R. JONES
                                                       UNITED STATES BANKRUPTCY JUDGE




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      A complete list of each of the Debtors in these chapter 11 cases may be obtained for a fee at the Court’s website
      at http://ecf.txsb.uscourts.gov. A login identification and password to the Court’s Public Access to Court
      Electronic Records (“PACER”) are required to access this information and can be obtained through the PACER
      Service Center at http://www.pacer.psc.uscourts.gov. The location of Debtor Mountain Express Oil Company’s
      principal place of business and the Debtors’ service address in these Chapter 11 Cases (the “Cases”) is 3650
      Mansell Road, Suite 250, Alpharetta, GA 30022.


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                              EXHIBIT 3
                 (Summary by Timekeeper)




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                                                                 EXHIBIT 3

                           SUMMARY OF TIMEKEEPERS INCLUDED IN THIS APPLICATION
                              FOR THE PERIOD JUNE 9, 2023 THROUGH JULY 31, 2023


                        TITLE OR        DATE OF          DEPARTMENT,                   HOURS
             NAME                                         GROUP OR           HOURLY                   FEES BILLED
                        POSITION       ADMISSION                                       BILLED
                                                           SECTION            RATE

 Jason S. Lichtstein                                     Environment and
                          Partner    GA 1999; FL 2001                        $875.00         5.10         $4,462.50
                                                         Natural Resources
 Mark C. McElree                                         Real Estate
                          Partner    TX 1988                                 $895.00         0.80          $716.00
 Michael J. Larson                   GA 2021; FL 2012;   Litigation
                          Partner                                            $710.00         3.20         $2,272.00
                                     NY 2009; IL 2017
 Matthew J. Schroeder                                    Litigation
                          Partner    TX 1994                                 $975.00            5.9       $5,752.50
 Robyn D. Neely                                          Environment and
                          Partner    FL 1987                                 $975.00         67.3        $65,617.50
                                                         Natural Resources
 Tracy S. Plott                                          Real Estate
                          Partner    GA 1991                                 $790.00         1.70         $1,343.00
 Sydney Sgovio                                           Litigation
                         Associate   TX 2022                                 $495.00         41.6        $20,592.00
 GRAND TOTAL                                                                               103.30       $100,755.50




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                              EXHIBIT 4
                                (Invoices)




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                                                                                                  Akerman LLP
                                                                                          Post Office Box 4906
                                                                                               Orlando, FL 32802
                                                                                               Tel: 407.254.2305
                                                                                               Fax: 407.254.3408

                                                                 Invoice Date:                  July 14, 2023
                                                                 Invoice No.:                        9896928

Mountain Express Oil Company
5333 Bells Ferry Road
Suite 201
Acworth
Georgia, FL 30102

Client Name:          Mountain Express Oil Company
Matter Name:          Assistance with Environmental and Regulatory Review
Client/Matter Number: 097548.00423098



For professional services rendered through June 30, 2023


    Services                                                                                    $58,517.00

    Total Amount Due                                                                            $58,517.00




           To ensure proper credit to the above account, please indicate invoice no. 9896928
                           Return remittance sheet with payment in US funds.
                                          Wired funds accepted:
                                    Akerman LLP Operating Account
                                       c/o Truist Bank, Atlanta, GA
                                        ABA Number:
                                   Account Number:
                         Swift code SNTRUS3A (For International Wires Only)
                                           IRS EIN
akerman.com
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Akerman LLP                                                    Invoice Date:      July 14, 2023
Client: Mountain Express Oil Company                           Invoice Number:    9896928
Matter: Assistance with Environmental and                      Matter Number:     097548.00423098
Regulatory Review



Time Detail

Task Code:     B130 - ASSET DISPOSITION

Date          Initials                      Services                     Hours         Value
11-Jun-23     JSL        Plan and prepare for telephone conference        0.30        262.50
                         with bankruptcy counsel / team
12-Jun-23     RDN        Review Oklahoma Corporation                       1.20     1,170.00
                         Commission regulations for Underground
                         Storage Tanks, including change of
                         ownership and registration requirements for
                         Underground Storage Tanks for owners,
                         operators and real property owners.
12-Jun-23     MJL        Analyze Georgia statutes and regulations          3.20     2,272.00
                         regarding transfer of underground storage
                         tanks
12-Jun-23     MS         Begin analyzing Oklahoma regulations on           0.30       292.50
                         USTs to address permitting issues.
12-Jun-23     JSL        Research and review/analyze Georgia law           2.30     2,012.50
                         and rules addressing UST transfer,
                         notification, and additional requirements
                         (1.6) ; plan and prepare for 6/13 telephone
                         conference (.3); confer and work with
                         Attorneys R. Neely and M. Larson
                         addressing same (.4).
13-Jun-23     SS         Analyze case file and conduct research            1.20       594.00
                         regarding the registration/change of
                         ownership requirements for USTs under
                         Oklahoma law.
13-Jun-23     SS         Draft analysis of next steps following            0.20        99.00
                         meeting with MEX's bankruptcy counsel.
13-Jun-23     SS         Attend meeting with MEX's Bankruptcy              1.10       544.50
                         Counsel to discuss environmental
                         compliance and UST registration/change of
                         ownership.
13-Jun-23     RDN        Additional review of Oklahoma Tank                0.70       682.50
                         Regulations for purposes of registering the
                         change in Underground Storage Tank
                         Ownership, and questions regarding
                         whether the Real Property Owner must
                         execute the registration form, (.4) and
                         review additional environmental
                         background documents (.3)




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Akerman LLP                                                   Invoice Date:      July 14, 2023
Client: Mountain Express Oil Company                          Invoice Number:    9896928
Matter: Assistance with Environmental and                     Matter Number:     097548.00423098
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Date         Initials                      Services                     Hours         Value
13-Jun-23    RDN        Confer with Gregory Demo, Henry Kevane,          0.70        682.50
                        and Lisa Cioteli regarding additional
                        environmental site background regarding
                        Oklahoma Underground Storage Tank
                        registration of change in ownership issues,
                        and requests by Oklahoma Corporation
                        Commission, and Landlord regarding
                        change of ownership registration.
13-Jun-23    RDN        Follow up review and discussion regarding         0.30       292.50
                        documents needed to assist in review of
                        Oklahoma Underground Storage Tank
                        registration questions and issues.
13-Jun-23    RDN        Confer with Steven Golden, Gregory                1.00       975.00
                        Demo, Henry Kevane, James Bedison, and
                        others to discuss environmental
                        background and request for environmental
                        legal assistance associated with
                        representation of debtor, Mountain Express
                        Oil Company, and environmental regulatory
                        and environmental compliance issues.
13-Jun-23    MS         Continue analyzing Oklahoma law on                0.50       487.50
                        ownership and compliance issues for
                        USTs.
13-Jun-23    MS         Extended telephone conference with MEX's          1.00       975.00
                        bankruptcy counsel regarding various
                        environmental issues, including ownership
                        issues of USTs in Oklahoma.
13-Jun-23    MS         Extended telephone conference with                0.90       877.50
                        client's bankruptcy counsel and
                        environmental consultant regarding USTs
                        in Oklahoma, including ownership and
                        compliance issues.
13-Jun-23    JSL        Telephone conference with bankruptcy              1.30     1,137.50
                        counsel and team to discuss Georgia UST
                        notification/transfer issues and other
                        environmental issues (.8); plan and prepare
                        for telephone conference (.3); follow-up re
                        same (.2).
14-Jun-23    SS         Conduct research regarding whether                1.00       495.00
                        underground storage tanks (USTs) are real
                        or personal property under Oklahoma law.
14-Jun-23    SS         Draft analysis of whether underground             0.50       247.50
                        storage tanks (USTs) are considered real
                        or personal property under Oklahoma law.




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         Case 23-90147 Document 1533 Filed in TXSB on 10/09/23 Page 25 of 47
Akerman LLP                                                   Invoice Date:      July 14, 2023
Client: Mountain Express Oil Company                          Invoice Number:    9896928
Matter: Assistance with Environmental and                     Matter Number:     097548.00423098
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Date         Initials                      Services                     Hours         Value
14-Jun-23    RDN        Review statutory and administrative code         0.40        390.00
                        language for underground storage tanks
                        treated as personal property and trade
                        fixtures.
14-Jun-23    RDN        Begin review of additional environmental          1.60     1,560.00
                        and compliance documentation from Lisa
                        Ciotoli for Oklahoma.
14-Jun-23    RDN        Coordinate regarding update on ownership          0.40       390.00
                        of UST systems by Mountain Express.
14-Jun-23    MS         Analyze legal research and cases on               0.30       292.50
                        whether USTs are personal property under
                        Oklahoma law.
14-Jun-23    MS         Analyze correspondence from Greg Demo             0.10        97.50
                        discussing MEX's ownership of USTs.
15-Jun-23    SS         Analyze OCC letter to Mountain Portfolio          0.10        49.50
                        Owner regarding change of ownership for
                        the tank system under Oklahoma law.
15-Jun-23    SS         Attend meeting with MEX's Bankruptcy              1.30       643.50
                        Counsel to discuss environmental
                        compliance issues and Bills of Sale in
                        Texas, Arkansas, Alabama, and Georgia.
15-Jun-23    SS         Conduct analysis regarding next steps for         0.40       198.00
                        environmental compliance issues for
                        Oklahoma USTs.
15-Jun-23    SS         Continue conducting research regarding            0.80       396.00
                        how the OCC interprets the definitions of
                        "owner" and "operator" under Oklahoma
                        law.
15-Jun-23    RDN        Additional review of Oklahoma Tank                1.90     1,852.50
                        environmental, ownership and notice of
                        violation documents provided by Lisa
                        Ciotoli.
15-Jun-23    RDN        Review and prepare draft Bill of Sale Form        0.90       877.50
                        for sale/transfer of UST System, (.5) and
                        coordinate regarding need for specific
                        review for Georgia, Texas, Alabama, and
                        Arkansas (.4)
15-Jun-23    RDN        Begin review of further additional                1.80     1,755.00
                        environmental documents from Mountain
                        Express outside professional team (1.4),
                        and coordinate regarding environmental
                        tasks requested to be completed (.4)




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         Case 23-90147 Document 1533 Filed in TXSB on 10/09/23 Page 26 of 47
Akerman LLP                                                    Invoice Date:      July 14, 2023
Client: Mountain Express Oil Company                           Invoice Number:    9896928
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Date         Initials                     Services                       Hours         Value
15-Jun-23    RDN        Confer with Mountain Express outside              1.00        975.00
                        professional team to discuss update and
                        environmental background for Oklahoma
                        sites, Oak Street sites, recommended
                        contact to Oklahoma counsel, and
                        proposed rejection of ARCO lease sites.
15-Jun-23    MS         Analyze correspondence from Greg Demo              0.10        97.50
                        following up on Oklahoma UST change of
                        ownership issues.
15-Jun-23    JSL        Plan and prepare for MEX / Georgia-based           0.50       437.50
                        environmental legal and bill of sale review
                        (.2); coordinate and work re Attorney T.
                        Plott review of proposed bill of sale (.3).
16-Jun-23    SS         Engage with Texas real estate attorneys            0.60       297.00
                        regarding drafting the Texas specific Bill of
                        Sale.
16-Jun-23    SS         Conduct research regarding the OAC's               1.00       495.00
                        definitions of "operator" under Oklahoma
                        law.
16-Jun-23    SS         Conduct research regarding the OAC's               1.70       841.50
                        definitions of "owner" under Oklahoma law.
16-Jun-23    SS         Conduct research regarding how red tags            1.80       891.00
                        are removed from USTs under Oklahoma
                        law.
16-Jun-23    SS         Draft analysis regarding the OAC's                 1.30       643.50
                        definitions of "owner" and "operator" under
                        Oklahoma law.
16-Jun-23    RDN        Additional review of Oklahoma Tank                 1.90     1,852.50
                        Registration and compliance status
                        documents (1.6), and review response from
                        Chris Semenson, Counsel for Oakstreet
                        (.3)
16-Jun-23    RDN        Confer with Aaron Johnson, Deputy                  0.40       390.00
                        General Counsel, Oklahoma Corporation
                        Commission regarding issues with
                        submittal of Change of Ownership Form.
16-Jun-23    RDN        Follow up with Chris Semenson, Oakstreet           0.50       487.50
                        Environmental Counsel (.2) and provide
                        summary update of discussion with Aaron
                        Johnson, Deputy General Counsel,
                        Oklahoma Corporation Commission (.3).




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Akerman LLP                                                    Invoice Date:      July 14, 2023
Client: Mountain Express Oil Company                           Invoice Number:    9896928
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Date         Initials                      Services                      Hours         Value
16-Jun-23    RDN        Prepare and provide Debtor's Counsel and          0.80        780.00
                        Debtor's Environmental Professionals with
                        summary update and recommended
                        approach based upon discussions with
                        Aaron Johnson, Deputy General Counsel,
                        Oklahoma Corporation Commission.
16-Jun-23    RDN        Review summary update from Aaron                   0.60       585.00
                        Johnson, Deputy General Counsel,
                        Oklahoma Corporation Commission
                        regarding clarification on OCC's position as
                        to tank registration and Change of
                        Ownership form completion (.3), and
                        prepare additional response (.3).
16-Jun-23    RDN        Prepare additional summary update to Lisa          0.80       780.00
                        Ciotoli and Debtor's Counsel regarding
                        response from Aaron Johnson, Deputy
                        General Counsel for Oklahoma Corporation
                        Commission concerning tank registration
                        issues.
16-Jun-23    RDN        Confer with Lisa Ciotoli regarding                 0.40       390.00
                        coordination with OCC tank inspectors and
                        information provided by Ciotoli to OCC tank
                        inspectors to result in response from Aaron
                        Johnson.
16-Jun-23    RDN        Confer with Greg Demo regarding                    0.20       195.00
                        discussions with Lisa Ciotoli and additional
                        clarifying response from Aaron Johnson,
                        and next steps.
16-Jun-23    MS         Continue researching Oklahoma and Texas            0.20       195.00
                        law on ownership and permitting issues
                        related to USTs.
16-Jun-23    JSL        Confer with Attorneys T. Plott and R. Neely        0.50       437.50
                        addressing bill of sale issues and
                        matter/project background (.3); review and
                        evaluate same (.2).
17-Jun-23    MS         Analyze correspondence from Greg Demo              0.10        97.50
                        discussing additional notices of violation
                        served upon MEX.
19-Jun-23    RDN        Additional review of revised APA for ARCO          0.90       877.50
                        Global and prepare environmental
                        comments.
19-Jun-23    RDN        Further review of APA and prepare                  0.50       487.50
                        additional environmental comments to
                        Section 3.14 Environmental
                        Representations and Warranties.



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Akerman LLP                                                   Invoice Date:      July 14, 2023
Client: Mountain Express Oil Company                          Invoice Number:    9896928
Matter: Assistance with Environmental and                     Matter Number:     097548.00423098
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Date         Initials                       Services                    Hours         Value
19-Jun-23    RDN        Review and coordinate as to additional           1.20      1,170.00
                        email from Lisa Ciotoelli regarding
                        Oklahoma environmental compliance
                        issues and Change of Ownership Form
                        issues.
19-Jun-23    RDN        Further review of Oklahoma UST                    1.30     1,267.50
                        Inspection documents and Notices of
                        Violations, and Change of Ownership
                        Forms to identify sites with USTs which are
                        red tagged and out of service.
19-Jun-23    RDN        Confer with Greg Demo regarding: (i)              0.40       390.00
                        update as to Oklahoma Change of
                        Ownership form completion issues, (ii) UST
                        Compliance Issues, (iii) discussions with
                        Lisa Ciotelli, (iv) proposed updated
                        discussion with Aaron Johnson, and (v)
                        proposed updated discussion with Chris
                        Semonsen.
19-Jun-23    RDN        Review AR Global Master Lease and UST             0.40       390.00
                        Transfer Provisions.
19-Jun-23    RDN        Follow up and coordinate regarding Real           0.60       585.00
                        Estate Counsel review of Bill of Sale Form
                        for Texas and Georgia.
19-Jun-23    SS         Correspond with Greg Demo (Bankruptcy             0.60       297.00
                        counsel) regarding environmental issues in
                        Oklahoma.
19-Jun-23    SS         Analyze file and draft next steps.                0.40       198.00
19-Jun-23    SS         Attending meeting with Henry Kevane               0.80       396.00
                        (Bankruptcy counsel) regarding
                        MEX/ARCO Environmental redlines.
19-Jun-23    MS         Telephone conference with Henry Kevane            0.50       487.50
                        discussing environmental clauses of draft
                        APA.
19-Jun-23    MS         Analyze and revise draft of environmental         0.60       585.00
                        obligations under draft APA.
19-Jun-23    MCM        Review and respond to correspondence              0.10        89.50
                        from R. Neely regarding Bill of Sale (.1);
                        review and revise same (.3); draft
                        correspondence regarding same (.2);
                        review and respond to correspondence
                        regarding same(.2).
19-Jun-23    MCM        Review and respond to correspondence              0.20       179.00
                        regarding same.
19-Jun-23    MCM        Draft correspondence regarding same.              0.20       179.00
19-Jun-23    MCM        Review and revise same.                           0.30       268.50


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Akerman LLP                                                   Invoice Date:      July 14, 2023
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Date         Initials                      Services                     Hours         Value
20-Jun-23    RDN        Coordinate and begin review of revisions to      0.80        780.00
                        draft Bill of Sale Documents for Texas and
                        Georgia sites.
20-Jun-23    SS         Analyze case file and determine next steps.       0.30       148.50
20-Jun-23    SS         Confer with FTI regarding Oklahoma                0.40       198.00
                        Storage Tanks and determine next steps.
20-Jun-23    MS         Analyze correspondence from Greg Demo             0.10        97.50
                        regarding PADEP's notices of violation to
                        MEX.
20-Jun-23    TSP        Drafting Georgia quitclaim deed and bill of       1.30     1,027.00
                        sale regarding underground storage tank.
20-Jun-23    TSP        Emails with Robyn Neely regarding                 0.40       316.00
                        Georgia law and customs regarding
                        underground storage tank conveyance
                        documents.
20-Jun-23    JSL        Review emails and status re review of             0.20       175.00
                        Georgia bill of sale
21-Jun-23    SS         Analyze list of Oklahoma sites provided by        0.50       247.50
                        client to determine outstanding
                        environmental issues.
23-Jun-23    RDN        Review Excel Spreadsheet of Oklahoma              1.20     1,170.00
                        sites with outstanding violations and
                        Change of Ownership Form issues (.8),
                        and confer regarding site status identified
                        on Excel Spreadsheet (.4).
23-Jun-23    RDN        Confer and provide update and request for         0.20       195.00
                        additional information of Oklahoma sites
                        with Change of Ownership Form issues.
23-Jun-23    RDN        Follow up with Oklahoma Corporate                 0.20       195.00
                        Commission Regional Counsel, Aaron
                        Johnson.
23-Jun-23    RDN        Review and provide Bill of Sale Forms for         0.60       585.00
                        Texas and Georgia properties to Henry
                        Kevane (.4) and review Court Order
                        Effective June 30, 2023 rejecting AR
                        Global Leases (.2).
23-Jun-23    SS         Analyze Oklahoma sites provided by FTI to         0.70       346.50
                        determine change of ownership issues.
26-Jun-23    RDN        Follow up discussion with Aaron Johnson,          0.60       585.00
                        Oklahoma Corporation Commission Deputy
                        General Counsel regarding Change of
                        Ownership Registration issues and
                        additional recommendations by Aaron
                        Johnson.



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Akerman LLP                                                    Invoice Date:      July 14, 2023
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Date         Initials                       Services                     Hours         Value
26-Jun-23    RDN        Follow up discussion with Greg Demo               0.50        487.50
                        regarding additional discussion and
                        recommendations from Aaron Johnson,
                        Oklahoma Corporation Commission Deputy
                        General Counsel, and recommended next
                        steps.
26-Jun-23    RDN        Review and provide follow up                       0.50       487.50
                        documentation to Greg Demo regarding
                        Notice of Violation and Notice of Hearing
                        for Oklahoma Corporation Commission for
                        Martin Luther King Avenue, Oklahoma City
                        site.
26-Jun-23    RDN        Coordinate regarding need for list of all          0.50       487.50
                        Oklahoma Sites with Enforcement Action
                        ongoing by Oklahoma Corporation
                        Commission (.2) , and review list of
                        identified sites (.3).
26-Jun-23    SS         Correspond with Greg Demo (Bankruptcy              0.20        99.00
                        counsel) regarding request for more
                        information on the 12 sites and the specific
                        site status.
26-Jun-23    SS         Analyze data regarding request for more            1.30       643.50
                        information on the 12 sites and the specific
                        site status.
27-Jun-23    MS         Analyze correspondence from Oak Street's           0.10        97.50
                        counsel regarding new notices of violation
                        and coordination on UST COO registration
                        issues.
27-Jun-23    MS         Analyze OCC's no further action letter for         0.10        97.50
                        Remington Discount site and Greg Demo's
                        questions regarding impact of NFA letter.
27-Jun-23    RDN        Confer with Chris Semonsen regarding               0.80       780.00
                        updated discussions with Aaron Johnson,
                        Deputy General Counsel for Oklahoma
                        Corporation Commission, recommended
                        approach for Change of Ownership Forms,
                        and need for additional contact information
                        from the real property owner. (.5) Review
                        follow up summary from Semonsen. (.3).




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Akerman LLP                                                     Invoice Date:      July 14, 2023
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Date         Initials                      Services                       Hours         Value
27-Jun-23    RDN        Review no further action documentation             0.90        877.50
                        from Greg Demo for Remington Tobacco
                        Discount site, and review underlying
                        violations identified in complaint (.3) and
                        coordinate regarding current status of site
                        including status of Change of Ownership
                        form submittal and ability to obtain approval
                        to cancel proposed July 12, 2023 hearing
                        (.3), and provide additional response to
                        Demo (.3)
27-Jun-23    SS         Analyze list of 12 Oklahoma sites with              0.60       297.00
                        change of ownership issue.
27-Jun-23    SS         Correspond with Greg Demo (bankruptcy               0.10        49.50
                        counsel) regarding current Oklahoma sites
                        with change of ownership issues.
27-Jun-23    SS         Correspond with Greg Demo (bankruptcy               0.10        49.50
                        counsel) regarding analyzing the 12 sites
                        with change of ownership issues.
28-Jun-23    MS         Analyze correspondence from Oak Street's            0.10        97.50
                        counsel discussing information necessary
                        to complete COO forms for Oklahoma
                        USTs.
28-Jun-23    SS         Analyze Oklahoma UST issues                         0.30       148.50
                        surrounding the change of ownership form.
28-Jun-23    RDN        Confer with Greg Demo regarding status              0.30       292.50
                        update on Oklahoma Tank Ownership
                        Registration.
28-Jun-23    RDN        Additional review of Change of Ownership            1.50     1,462.50
                        Form and Oklahoma registration
                        requirements (.6), and prepare proposed
                        Template Instructions for completion of
                        Change of Ownership Form (.9).
28-Jun-23    RDN        Follow up with Chris Semonsen regarding             0.20       195.00
                        status of updated ownership information for
                        the real property owner.
28-Jun-23    RDN        Further follow up regarding Change of               0.30       292.50
                        Ownership submittal in the Oklahoma
                        Petroleum Storage Tank Online Portal.
29-Jun-23    MS         Analyze correspondence from Greg Demo               0.10        97.50
                        discussing outstanding information needed
                        for COO forms for Oklahoma USTs.
29-Jun-23    MS         Analyze correspondence from Kayla                   0.10        97.50
                        Hauser regarding payment of outstanding
                        UST fees to OCC.



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Akerman LLP                                                    Invoice Date:      July 14, 2023
Client: Mountain Express Oil Company                           Invoice Number:    9896928
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Date         Initials                      Services                      Hours         Value
29-Jun-23    MS         Analyze correspondence from Lisa Ciotoli          0.10         97.50
                        with additional information for Oklahoma
                        UST COO forms.
29-Jun-23    RDN        Review update on Change of Ownership               0.60       585.00
                        forms, proposed language for form and
                        confer with Lisa Cioteli
30-Jun-23    MS         Analyze correspondence from Lisa Ciotoli           0.10        97.50
                        discussing finalization of Oklahoma UST
                        COO forms for various MEX sites.
30-Jun-23    MS         Analyze correspondence from Theresa                0.10        97.50
                        Tankersley regarding finalized forms of
                        Oklahoma UST COO forms.
30-Jun-23    MS         Analyze correspondence from Theresa                0.10        97.50
                        Tankersley and Greg Demo regarding the
                        OCC's rejection of MEX's UST COO forms.
30-Jun-23    RDN        Coordinate regarding confirmation of               0.20       195.00
                        submittal of COO forms to OCC.
30-Jun-23    RDN        Confer with Aaron Johnson, OCC Deputy              0.30       292.50
                        General Counsel regarding submittal of
                        revised COO forms, and potential to
                        postpone or dismiss the July 12th
                        Enforcement Hearing for Remington
                        Tobacco Discount site.
30-Jun-23    RDN        Confer with Jamie Andrews, OCC Deputy              0.40       390.00
                        General Counsel regarding submittal of
                        revised COO forms, and potential to
                        postpone or dismiss the July 12th
                        Enforcement Hearing for Remington
                        Tobacco Discount site.
30-Jun-23    RDN        Review update regarding rejection of               0.30       292.50
                        submitted COO forms (.1), and review
                        example of rejected COO form (.2).
30-Jun-23    RDN        Confer with Greg Demo regarding rejection          0.30       292.50
                        of COO forms and need to include the
                        information for Real Property Owner, as
                        well as Mountain Express as Tank Owner,
                        and Tank Operator.
30-Jun-23    RDN        Review previous direction on completion of         0.60       585.00
                        COO forms (.3), and provide additional
                        direction and specific further direction on
                        the Real Property Owner information (.3).
30-Jun-23    RDN        Confer with Michael Healey regarding               0.30       292.50
                        request for background information as to
                        COO form submittal issues.



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Akerman LLP                                                 Invoice Date:      July 14, 2023
Client: Mountain Express Oil Company                        Invoice Number:    9896928
Matter: Assistance with Environmental and                   Matter Number:     097548.00423098
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Date         Initials                 Services                        Hours         Value
30-Jun-23    RDN     Coordinate regarding additional questions         0.70        682.50
                     regarding need for additional revised
                     planned submittal of the COO forms, and
                     additional information needed.
Task Total   B130 - ASSET DISPOSITION                                  71.30   $58,517.00




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           Case 23-90147 Document 1533 Filed in TXSB on 10/09/23 Page 34 of 47
Akerman LLP                                               Invoice Date:       July 14, 2023
Client: Mountain Express Oil Company                      Invoice Number:     9896928
Matter: Assistance with Environmental and                 Matter Number:      097548.00423098
Regulatory Review




Timekeeper Summary

Initials    Name                                                   Hours      Rate       Amount
JSL         J. S. Lichtstein                                         5.10   875.00       4,462.50
MCM         M. C. McElree                                            0.80   895.00         716.00
MJL         M. J. Larson                                             3.20   710.00       2,272.00
MS          M. Schroeder                                             5.60   975.00       5,460.00
RDN         R.D. Neely                                              35.60   975.00      34,710.00
SS          S. Sgovio                                               19.30   495.00       9,553.50
TSP         T. S. Plott                                              1.70   790.00       1,343.00
Total                                                               71.30              $58,517.00




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                                                                                                  Akerman LLP
                                                                                          Post Office Box 4906
                                                                                               Orlando, FL 32802
                                                                                               Tel: 407.254.2305
                                                                                               Fax: 407.254.3408

                                                                 Invoice Date:            August 11, 2023
                                                                 Invoice No.:                    9904794

Mountain Express Oil Company
5333 Bells Ferry Road
Suite 201
Acworth
Georgia, FL 30102

Client Name:          Mountain Express Oil Company
Matter Name:          Assistance with Environmental and Regulatory Review
Client/Matter Number: 097548.00423098



For professional services rendered through July 31, 2023


    Services                                                                                    $42,238.50


    Total Due This Invoice                                                                      $42,238.50



    Previous Balance Due                                                                        $59,744.50
    (Includes payments received through 08/16/2023)


    Total Amount Due                                                                        $101,983.00




           To ensure proper credit to the above account, please indicate invoice no. 9904794
                           Return remittance sheet with payment in US funds.
                                          Wired funds accepted:
                                    Akerman LLP Operating Account
                                       c/o Truist Bank, Atlanta, GA
                                        ABA Number:
                                   Account Number:
                         Swift code SNTRUS3A (For International Wires Only)
                                           IRS EIN
akerman.com
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Akerman LLP                                                   Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                          Invoice Number:    9904794
Matter: Assistance with Environmental and                     Matter Number:     097548.00423098
Regulatory Review



Time Detail

Task Code:     B130 - ASSET DISPOSITION

Date          Initials                    Services                      Hours         Value
3-Jul-23      RDN        Review and prepare additional update and        0.60        585.00
                         response to Aaron Johnson and Jamie
                         Andrews, OCC Deputy General Counsels.
3-Jul-23      RDN        Prepare additional summary of details and        0.90       877.50
                         recommendation for completion of revised
                         COO forms and recommended approach.
5-Jul-23      MS         Analyze correspondence from Theresa              0.10        97.50
                         Tankersley discussing revised COO form
                         for Oklahoma USTs.
5-Jul-23      SS         Analyze Oklahoma UST change of                   0.20        99.00
                         ownership form filled out by client.
5-Jul-23      SS         Draft and revise Petroleum Storage Tank          0.30       148.50
                         Change of Ownership form for State ID No.
                         5507967.
5-Jul-23      SS         Draft and revise Petroleum Storage Tank          0.30       148.50
                         Change of Ownership form for State ID No.
                         912523.
5-Jul-23      SS         Draft and revise Petroleum Storage Tank          0.50       247.50
                         Change of Ownership form for State ID No.
                         1913664.
5-Jul-23      SS         Draft and revise Petroleum Storage Tank          0.30       148.50
                         Change of Ownership form for State ID No.
                         4211103.
5-Jul-23      SS         Draft and revise Petroleum Storage Tank          0.30       148.50
                         Change of Ownership form for State ID No.
                         4612657.
5-Jul-23      SS         Draft and revise Petroleum Storage Tank          0.30       148.50
                         Change of Ownership form for State ID No.
                         5557035.
5-Jul-23      SS         Draft and revise Petroleum Storage Tank          0.30       148.50
                         Change of Ownership form for State ID No.
                         5521444.
5-Jul-23      SS         Draft and revise Petroleum Storage Tank          0.30       148.50
                         Change of Ownership form for State ID No.
                         5521461.
5-Jul-23      SS         Draft and revise Petroleum Storage Tank          0.30       148.50
                         Change of Ownership form for State ID No.
                         5506889.
5-Jul-23      SS         Draft and revise Petroleum Storage Tank          0.30       148.50
                         Change of Ownership form for State ID No.
                         6113706.

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Akerman LLP                                                    Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                           Invoice Number:    9904794
Matter: Assistance with Environmental and                      Matter Number:     097548.00423098
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Date         Initials                      Services                      Hours         Value
5-Jul-23     SS         Draft and revise Petroleum Storage Tank           0.30        148.50
                        Change of Ownership form for State ID No.
                        6104478.
5-Jul-23     SS         Draft and revise Petroleum Storage Tank            0.30       148.50
                        Change of Ownership form for State ID No.
                        6157427.
5-Jul-23     RDN        Confer with Lisa Cioteli, and Theresa              0.50       487.50
                        Tankersley regarding additional
                        background concerning Oklahoma
                        Corporation Commission Tank Inspector
                        rejection of revised Change of Ownership
                        forms, recommended next steps and
                        additional documentation needed with
                        regard to separate gas station tank
                        operator and associated third party lease, if
                        required for submittal to OCC.
5-Jul-23     RDN        Confer with Greg Demo regarding                    0.30       292.50
                        additional issues with COO filing and
                        recommended approach.
5-Jul-23     RDN        Additional review of revised Change of             0.90       877.50
                        Ownership Form and coordinate regarding
                        additional revisions and additional potential
                        needed information for an applicable third
                        party tank operator.
5-Jul-23     RDN        Review and coordinate as to additional             0.70       682.50
                        revisions needed to the Change of
                        Ownership Form.
5-Jul-23     RDN        Prepare request to Aaron Johnson, Jamie            0.80       780.00
                        Andrews and Brian McDonald with a
                        proposed revised Change of Ownership
                        Form and seek approval by OCC prior to
                        submittal.
5-Jul-23     RDN        Review revised Change of Ownership form            0.30       292.50
                        for Remington Tobacco Discount and
                        approve for submittal to OCC as an
                        example for OCC approval prior to
                        submittal.
6-Jul-23     SS         Analyze correspondence from Greg Demo              0.10        49.50
                        regarding the status of the Change of
                        Ownership forms for the 12 Oklahoma
                        USTs.
6-Jul-23     SS         Analyze correspondence from Jamie                  0.10        49.50
                        Andrews (Deputy General Counsel OCC)
                        regarding revisions to the Change of
                        Ownership forms for the 12 Oklahoma
                        USTs.


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           Case 23-90147 Document 1533 Filed in TXSB on 10/09/23 Page 38 of 47
Akerman LLP                                                   Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                          Invoice Number:    9904794
Matter: Assistance with Environmental and                     Matter Number:     097548.00423098
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Date         Initials                     Services                      Hours         Value
6-Jul-23     SS         Revise the Change of Ownership forms to          0.10         49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 3466).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 3458).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 3457).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 3127).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 218).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 217).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 3124).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 3123).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 210).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 209).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 101).
6-Jul-23     SS         Revise the Change of Ownership forms to           0.10        49.50
                        reflect the current and new facility names
                        for the 12 Oklahoma USTs (MEX 100).
6-Jul-23     SS         Correspond with Theresa Tankersley and            0.10        49.50
                        Lisa Ciotoli regarding revisions to the COO
                        forms for the 12 Oklahoma USTs to include
                        the current and new facility names.
6-Jul-23     RDN        Begin review of Notice of Violation               0.60       585.00
                        documents concerning Enid, OK (.3)
                        Review any additional available
                        documentation regarding compliance
                        status of Enid, OK.(.3)


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Akerman LLP                                                  Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                         Invoice Number:    9904794
Matter: Assistance with Environmental and                    Matter Number:     097548.00423098
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Date         Initials                     Services                     Hours         Value
6-Jul-23     RDN        Begin review of documentation regarding         0.50        487.50
                        additional Oklahoma Tank registration
                        issues for former RAM Inc. sites.
6-Jul-23     RDN        Further review and follow up with Jamie          0.40       390.00
                        Andrews regarding draft template of
                        completed COO form.
6-Jul-23     RDN        Confer with Jamie Andrews regarding              0.40       390.00
                        review and comments to proposed
                        completed template of COO form.
6-Jul-23     RDN        Review and coordinate as to revisions to         0.60       585.00
                        COO Form requested by Jamie Andrews,
                        and preparation of revised COO forms.
6-Jul-23     RDN        Review revised COO forms for 12 sites            0.90       877.50
                        with changes requested by Jamie Andrews
                        and coordinate regarding need for re-
                        execution and re-submittal.
6-Jul-23     RDN        Follow up with Lisa Cioteli, and Theresa         2.00     1,950.00
                        Tankersley regarding additional
                        background information and associated
                        requests to respond to OCC.
6-Jul-23     RDN        Confer with Theresa Tankersley regarding         0.30       292.50
                        additional information requested by Jamie
                        Andrews, proposed completion of forms
                        and numerous questions
7-Jul-23     MS         Analyze correspondence from Greg Demo            0.10        97.50
                        to Theresa Tankersley regarding final
                        drafts of COO forms for Oklahoma USTs
                        that need to be signed and filed.
7-Jul-23     MS         Analyze correspondence from Theresa              0.10        97.50
                        Tankersley discussing filing of updated
                        Oklahoma COO forms.
7-Jul-23     SS         Analyze correspondence to Theresa                0.10        49.50
                        Tankersley regarding how to upload the
                        Change of Ownership forms for the 12
                        Oklahoma USTs.
7-Jul-23     RDN        Additional review of Change of Ownership         0.30       292.50
                        Forms submitted on July 7, 2023 for 12
                        sites.
7-Jul-23     RDN        Review background documents concerning           0.30       292.50
                        OCC Notice of Violation and demand for
                        removal of USTs at Enid, OK site.




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            Case 23-90147 Document 1533 Filed in TXSB on 10/09/23 Page 40 of 47
Akerman LLP                                                     Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                            Invoice Number:    9904794
Matter: Assistance with Environmental and                       Matter Number:     097548.00423098
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Date          Initials                     Services                       Hours         Value
7-Jul-23      RDN        Confer with Greg Demo and James                   0.50        487.50
                         Bedison regarding review of OCC Notice of
                         Violation and demand for UST removal at
                         Enid, OK site and recommended initial
                         steps.
7-Jul-23      RDN        Confer with Jamie Andrews, OCC Deputy              0.40       390.00
                         General Counsel regarding further
                         questions and requests to re-submit COO
                         forms under Mountain Express Oil as Tank
                         Owner only, and recommended next steps.
7-Jul-23      RDN        Prepare update to Mountain Express                 0.40       390.00
                         technical team and Greg Demo regarding
                         review and request by Jamie Andrews to
                         re-submit COO forms under Mountain
                         Express Oil Company as Tank Owner only.
7-Jul-23      RDN        Follow up and coordinate with Theresa              0.30       292.50
                         Tankersley regarding need for re-submittal
                         of COO forms for 12 sites under Mountain
                         Express Oil Company Tank Owner
                         identification number only,
7-Jul-23      RDN        Confirm re-submittal of COO forms for 12           0.40       390.00
                         sites, and review submittal.
7-Jul-23      RDN        Provide update to Aaron Johnson and                0.40       390.00
                         Jamie Andrews regarding re-submittal of
                         COO forms for 12 sites as requested,
                         including COO forms and coordination as
                         to request to dismiss July 12th hearing for
                         Remington Tobacco Discount site.
7-Jul-23      RDN        Further coordination with Jamie Andrews.           0.30       292.50
10-Jul-23     RDN        Review update from Bedison regarding               0.20       195.00
                         planned discussions with Brian McDonald
                         to determine other potential options instead
                         of UST Removal at 4 Oklahoma sites.
10-Jul-23     RDN        Follow up with Jamie Andrews regarding             0.30       292.50
                         status of review of 12 COO Forms
                         submitted on July 6th, and status of
                         requested dismissal of July 12th hearing.
10-Jul-23     RDN        Review and coordinate as to additional             0.40       390.00
                         update from Jamie Andrews, Deputy
                         General Counsel.




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            Case 23-90147 Document 1533 Filed in TXSB on 10/09/23 Page 41 of 47
Akerman LLP                                                    Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                           Invoice Number:    9904794
Matter: Assistance with Environmental and                      Matter Number:     097548.00423098
Regulatory Review



Date          Initials                      Services                     Hours         Value
11-Jul-23     RDN        Confer with Cioteli, Bedison, Demo and           0.90        877.50
                         Walden regarding Mountain Express Oil
                         Company Tank Ownership Change of
                         Owner form submittal and approve by
                         OCC, and Oklahoma violations for
                         Temporary Out of Use for four sites and
                         recommended next steps.
11-Jul-23     RDN        Additional review and coordination with           0.50       487.50
                         Jamie Andrews, Deputy General Counsel.
11-Jul-23     RDN        Additional response to Jamie Andrews              0.50       487.50
                         regarding Change of Ownership Forms and
                         confirmation of approval for dismissal of
                         enforcement hearing for Remington
                         Tobacco Discount site.
11-Jul-23     RDN        Provide update to Cioteli, and Bedison            0.40       390.00
                         regarding approval from Jamie Andrews to
                         provide dismissal of hearing for Remington
                         Tobacco Discount site, and update on
                         COO Form review.
11-Jul-23     RDN        Further coordination with Jamie Andrews           0.40       390.00
                         on proposed dismissal of Remington
                         Tobacco Discount hearing and re submittal
                         of COO's for three sites.
11-Jul-23     RDN        Provide additional update on Oklahoma             0.30       292.50
                         Change of Ownership filings approved by
                         Jamie Andrews and Tank Inspectors and
                         dismissal of Notice of Hearing for
                         Remington Tobacco Discount.
11-Jul-23     RDN        Review and coordinate as to additional            0.30       292.50
                         update from Bedison on four Temporary
                         Out of Use sites in Oklahoma and
                         discussions with Brian McDonald OCC
                         Tank Inspector Supervisor.
11-Jul-23     SS         Confer with Theresa Tankersley (Mex), FTI         0.80       396.00
                         Consulting, and Greg Demo (bankruptcy
                         counsel) regarding MEX Tank Registration
                         related to Ram, Inc.
12-Jul-23     RDN        Review request from Jamie Andrews to              0.40       390.00
                         provide ownership information for 10
                         additional Oklahoma sites and coordinate
                         with Ciotelli, Bedison and Demo regarding
                         assistance with requested information.
13-Jul-23     RDN        Review update from Lisa Cioteli regarding         0.30       292.50
                         request for information for 10 additional
                         sites from Jamie Andrews OCC.



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Akerman LLP                                                     Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                            Invoice Number:    9904794
Matter: Assistance with Environmental and                       Matter Number:     097548.00423098
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Date          Initials                      Services                      Hours         Value
13-Jul-23     RDN        Provide additional response to Lisa Cioteli       0.20        195.00
                         regarding 10 additional Oklahoma sites
                         identified by Jamie Andrews.
13-Jul-23     RDN        Review and respond to additional                   0.40       390.00
                         questions from Neil Lansing, and request
                         additional information concerning 10
                         additional Oklahoma sites.
13-Jul-23     RDN        Review and coordinate regarding request            0.50       487.50
                         received from Joseph Baker as owner of
                         Harrah, OK gas station and request by
                         OCC for Change of Ownership Forms and
                         request for Variance for Temporary Out of
                         Use Status.
13-Jul-23     RDN        Additional review and coordination with Neil       0.30       292.50
                         Lansing regarding Oklahoma ownership
                         information for 10 additional COO Forms
                         requested by OCC.
13-Jul-23     RDN        Review requests from Joseph Baker                  0.30       292.50
                         regarding Harrah, OK site , including OCC
                         Notice Letter (.3), and confer with Joseph
                         Baker (.4).
13-Jul-23     RDN        Further coordination regarding request and         0.30       292.50
                         notice information provide by Joseph Baker
                         for Harrah, Oklahoma.
13-Jul-23     RDN        Coordinate regarding proposed response             0.30       292.50
                         to Joseph Baker for Harrah, OK site.
13-Jul-23     SS         Analyze correspondence from Neil Lansing           0.10        49.50
                         regarding providing additional ownership
                         information on the 10 Oak Street sites.
13-Jul-23     SS         Analyze correspondence to Neil Lansing             0.10        49.50
                         regarding completing the COO forms for
                         the 10 additional Oak Street Entities.
13-Jul-23     RDN        Confer with Joseph Baker.                          0.40       390.00
14-Jul-23     RDN        Review detailed update from Bedison                0.30       292.50
                         regarding four Oklahoma sites under
                         demand for Tank Removal.
14-Jul-23     RDN        Confer with Bedison, Cioteli, and Demo to          0.60       585.00
                         discuss: (i) considerations and
                         recommendations for path forward for 4
                         Oklahoma sites under demand to remove
                         tanks, (ii) 10 additional sites requiring COO
                         forms to be submitted, and (iii) contact and
                         request from Joseph Baker.




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Akerman LLP                                                    Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                           Invoice Number:    9904794
Matter: Assistance with Environmental and                      Matter Number:     097548.00423098
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Date          Initials                     Services                      Hours         Value
14-Jul-23     RDN        Review and provide additional update to          0.50        487.50
                         Jamie Andrews, OCC regarding
                         information being obtained for new Real
                         Property Owners for 10 additional sites and
                         need for COO forms.
14-Jul-23     RDN        Review and follow up with Neil Lansing and        0.20       195.00
                         Carrie Kennedy regarding requested
                         information regarding VEREIT and Singal
                         Holdings, LLC.
14-Jul-23     RDN        Provide email update to Joseph Baker              0.40       390.00
                         regarding Harrah, OK site (.2) and work to
                         determine steps to complete Variance and
                         steps needed to meet TOU requirements
                         (.2)
14-Jul-23     RDN        Additional follow up and coordination with        0.20       195.00
                         Carrie Kennedy regarding COO forms and
                         information needed from VEREIT and
                         Singal.
14-Jul-23     RDN        Review additional update and draft                0.40       390.00
                         summary from Bedison (.2) and provide
                         suggested comments (.2)
14-Jul-23     SS         Analyze correspondence from Carrie                0.10        49.50
                         Kennedy regarding the contact information
                         for the updated Change of Ownership
                         forms.
17-Jul-23     SS         Analyze correspondence from Greg Demo             0.10        49.50
                         regarding the 10 Tote a Poke Sites.
17-Jul-23     SS         Analyze correspondence from Lisa Ciotoli          0.10        49.50
                         regarding the completed COO forms to
                         review (10 Tote a Poke).
17-Jul-23     RDN        Review and coordinate as to updated               0.40       390.00
                         information from Carlos Pierla regarding
                         contact information to complete COO forms
                         for new real property owners for 10
                         Oklahoma Tote a Poke sites.
17-Jul-23     RDN        Review and respond to                             0.90       877.50



17-Jul-23     RDN        Review and coordinate as Tote a poke              0.70       682.50
                         litigation and injunction update and
                         potential impact on requests by OCC for
                         new real property owner information and
                         potential temporary out of compliance
                         issues.



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            Case 23-90147 Document 1533 Filed in TXSB on 10/09/23 Page 44 of 47
Akerman LLP                                                     Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                            Invoice Number:    9904794
Matter: Assistance with Environmental and                       Matter Number:     097548.00423098
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Date          Initials                    Services                        Hours         Value
17-Jul-23     RDN        Confer with Lisa Cioteli and Theresa              0.30        292.50
                         Tankersley regarding previously submitted
                         COO Forms for 10 Tote a Poke sites and
                         requests and proposed responses to Jamie
                         Andrews, Deputy General Counsel.
17-Jul-23     RDN        Additional responses regarding                     0.40       390.00

18-Jul-23     RDN        Confer with Greg Demo regarding follow up          0.20       195.00
                         additional questions concerning



18-Jul-23     RDN        Review and coordinate as to update from            0.30       292.50
                         Lisa Cioteli regarding estimated costs to
                         drain and cap lines for TOU tasks for
                         Oklahoma sites.
18-Jul-23     RDN        Review and respond to questions by                 0.30       292.50
                         James Bedison for Oklahoma sites.
19-Jul-23     SS         Analyze issues regarding                           0.10        49.50

21-Jul-23     RDN        Review, respond to additional request from         0.50       487.50
                         Jamie Andrews, Deputy General Counsel
                         for Oklahoma Corporation Commission (.3)
                         and provide update associated with request
                         from Jamie Andrews to Mountain Express
                         Oil Company Technical Team (.2).
21-Jul-23     RDN        Review and coordinate as to request from           0.30       292.50



21-Jul-23     SS         Conduct research regarding                         0.30       148.50



24-Jul-23     SS         Conduct research regarding                         1.00       495.00



24-Jul-23     RDN        Review and respond to additional email             0.20       195.00
                         requests from Bedison and Demo.
24-Jul-23     RDN        Begin review of Dismissal Orders for               0.30       292.50
                         Oklahoma sites.
25-Jul-23     SS         Continue conducting research regarding             1.20       594.00




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            Case 23-90147 Document 1533 Filed in TXSB on 10/09/23 Page 45 of 47
Akerman LLP                                                     Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                            Invoice Number:    9904794
Matter: Assistance with Environmental and                       Matter Number:     097548.00423098
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Date          Initials                  Services                          Hours         Value
25-Jul-23     SS         Continue conducting research regarding            1.40        693.00


26-Jul-23     RDN        Review additional request from Joe Baker           0.30       292.50
                         regarding Oklahoma UST questions, and
                         provide response as requested by Demo.
26-Jul-23     SS         Continue conducting research regarding             2.10     1,039.50


26-Jul-23     SS         Continue conducting research regarding             1.10       544.50


27-Jul-23     SS         Continue drafting                                  0.50       247.50


                            .
27-Jul-23     SS         Prepare draft                                      0.50       247.50



27-Jul-23     SS         Continue conducting research regarding             0.50       247.50


28-Jul-23     RDN        Review and respond to the request of               0.20       195.00
                         Jamie Andrews, OCC Deputy General
                         Counsel.
28-Jul-23     RDN        Begin review of draft                              0.40       390.00



28-Jul-23     SS         Continue drafting and revising                     1.10       544.50


28-Jul-23     SS         Continue drafting and revising                     1.20       594.00


28-Jul-23     SS         Continue drafting and revising                     1.30       643.50


28-Jul-23     SS         Continue drafting and revising                     0.20        99.00




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            Case 23-90147 Document 1533 Filed in TXSB on 10/09/23 Page 46 of 47
Akerman LLP                                                       Invoice Date:      August 11, 2023
Client: Mountain Express Oil Company                              Invoice Number:    9904794
Matter: Assistance with Environmental and                         Matter Number:     097548.00423098
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Date          Initials                        Services                      Hours         Value
31-Jul-23     RDN        Review and edit                                     0.90        877.50



31-Jul-23     RDN        Review additional comments and questions             0.30       292.50
                         to
31-Jul-23     RDN        Confer regarding                                     0.30       292.50



31-Jul-23     RDN        Provide update to                                    0.30       292.50


31-Jul-23     SS         Draft and finalize                                   1.30       643.50



31-Jul-23     SS         Draft and finalize                                   1.10       544.50


31-Jul-23     SS         Correspond with                                      0.10        49.50



31-Jul-23     SS         Analyze caselaw regarding                            0.40       198.00




Task Total    B130 - ASSET DISPOSITION                                       54.30   $42,238.50




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Akerman LLP                                               Invoice Date:       August 11, 2023
Client: Mountain Express Oil Company                      Invoice Number:     9904794
Matter: Assistance with Environmental and                 Matter Number:      097548.00423098
Regulatory Review




Timekeeper Summary

Initials    Name                                                   Hours      Rate       Amount
MS          M. Schroeder                                             0.30   975.00         292.50
RDN         R.D. Neely                                              31.70   975.00      30,907.50
SS          S. Sgovio                                               22.30   495.00      11,038.50
Total                                                               54.30              $42,238.50




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